
99 N.Y.2d 572 (2003)
WILLIAM J. BLUM, Appellant,
v.
NEW YORK STOCK EXCHANGE, INC., Respondent.
Court of Appeals of the State of New York.
Submitted November 18, 2002.
Decided January 16, 2003.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed so much of Supreme Court's order as denied appellant's motion to renew and motion for leave to amend the complaint, dismissed upon the ground that such portion of the Appellate Division order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
Chief Judge KAYE taking no part.
